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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,

v.

ALISON RENEE MARSHALL,                                        INDICTMENT

               Defendant.
                                           /

        The Grand Jury charges:


                              (Tampering with a Consumer Product)

        From on or about July 21, 2020 to August 20, 2020, in Kalamazoo County, in the Southern

Division of the Western District of Michigan,

                                ALISON RENEE MARSHALL,

with reckless disregard for the risk that another person would be placed in danger of death or bodily

injury and under circumstances manifesting extreme indifference to such risk, tampered with a

consumer product that affected interstate commerce. Specifically, the defendant, working as a

registered nurse in the interventional radiology unit of a hospital, tampered with vials of fentanyl

stored inside the hospital’s Pyxis machines by removing the fentanyl from the vials using a syringe

and replacing it with another liquid, knowing that the diluted fentanyl was to be dispensed to

patients.

18 U.S.C. § 1365(a)(4)

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                                         A TRUE BILL



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                                         GRAND JURY FOREPERSON

ANDREW BYERLY BIRGE
United States Attorney



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RAYMOND E. BECKERING III
Assistant United States Attorney
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